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                      UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW JERSEY


LD MANAGEMENT LLC AND MICHAEL                           Case No. 2:21-cv-18427-KM-JSA
LUKACS,

                       Plaintiffs,                              CERTIFICATION OF
                                                                 MARTIN GIBSON
               vs.

FIRST REPUBLIC BANK, INC.

                       Defendant.



I, Martin Gibson, of full age, hereby certify as follows:

       1.      I am the Senior Vice President for Deposit Strategy and PWM Banking

Partnerships, at First Republic Bank (“First Republic”). I have held this position since 2020.

       2.      I am authorized to make this certification on behalf of First Republic in relation to

the above-captioned matter. If called upon to do so, I could and would competently testify to the

facts contained herein.

       3.      I make this Certification to supplement the Certification of Fatema Arande, which

she signed on behalf of First Republic in connection with this litigation on December 20, 2021.

       4.      I have access to First Republic’s business records relating to deposit accounts

with First Republic. These records, including the documents referenced herein and attached

hereto: (i) were made at or near the time of the occurrence of the matters set forth by, or from

information transmitted by, a person with knowledge of and a business duty to record or transmit

those matters; (ii) are kept in the course of the regularly conducted activity; (iii) were made in

the course of regularly conducted activity as a regular practice; and (iv) are routinely relied upon

by First Republic in the course of regularly conducted activity. The matters set forth in this

certification are based on my personal knowledge and/or these business records.
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       5.      Further, as part of my job responsibilities, I am familiar with the type of account

agreements maintained by First Republic for customer accounts.

       6.      I have personally reviewed the relevant account agreements of First Republic as

they pertain to the above-captioned matter and to each of the accounts owned by Plaintiffs

Michael Lukacs and LD Management, LLC.              I rely upon those business records for my

knowledge as to the matters to which I am certifying.

       7.      In connection with Plaintiff Michael Lukacs opening deposit accounts with First

Republic, attached as Exhibit E and Exhibit F are true and correct copies of the Consumer

Master Signature Card and Agreement to Open Account(s) covering Michael Lukacs’ accounts

ending in -016 and -338, respectively. These documents are maintained in First Republic’s

business records, and I am fully familiar with how these business records are generated,

maintained, and routinely relied upon in the ordinary course of First Republic’s operations. Each

of these documents have been redacted to protect personal identifying information.

       8.      In connection with Plaintiff LD Management LLC opening a deposit account with

First Republic, attached as Exhibit G is a true and correct copy of the Business Master Signature

Card Resolution and Agreement to Open Accounts and Services covering LD Management

LLC’s account ending in -239.       This document is maintained in First Republic’s business

records, and I am fully familiar with how this business record is generated, maintained, and

routinely relied upon in the ordinary course of First Republic’s operations. This document has

been redacted to protect personal identifying information.

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       I certify under penalty of perjury that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am subject to

punishment.



                                                    _________________________


Dated: March 14, 2022




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